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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

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cLEHK u.s. ;")Bmm cum
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Jom'rnm -r. mucnz,
Piaintif£,
v. Cv. No. 04-2483-Ma

THE HOMI DEPOT, a/k/a I'IOME
DEPO'I‘, U.S.A., INC.,

Defendant.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDER.ED AND ADJ'UDGED that this action is dismissed in
accordance with the Order Granting Defendant's Motion for Summary
Judgment, docketed August 30, 2005.

APPRO\Y y : l

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02483 Was distributed by faX, mail, or direct printing on
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Kaye G. Burson
RUTLEDGE & RUTLEDGE
1053 W. ReX Road

Ste. 1 0 1

Memphis7 TN 38119

Keith D. Frazier

OGLETREE DEAKINS NASH SMOAK & STEWART
424 Church St.

Ste. 800

Nashville, TN 372 l 9

Honorable Samuel Mays
US DISTRICT COURT

